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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MARYLAND
                                   Baltimore Division

  IN RE:                                                               CASE NO.: 21-13965-MMH
  Rhonda L. Wimbish                                                               CHAPTER 13
  _________________________________

                                  REQUEST FOR SERVICE
       PLEASE TAKE NOTICE THAT the undersigned hereby appears on behalf of
Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not individually but as trustee
for Pretium Mortgage Acquisition Trust ("Secured Creditor"). Pursuant to Rule 2002 of the
Federal Rules of Bankruptcy Procedure, the undersigned requests all notices given or required to
be given and all papers required to be served in this case to creditors, any creditors committees,
and any other parties-in-interest, be sent to and served upon the undersigned and the following be
added to the Court's Master Mailing List:


                                     Robertson, Anschutz, Schneid & Crane & Partners PLLC
                                     10700 Abbott’s Bridge Road
                                     Suite 170
                                     Duluth, Georgia 30097

                                      /s/ Gene Jung, Esq.
                                     Gene Jung, Esq., MD Fed. Bar No. 14950
                                     (470) 321-7112
                                     gjung@raslg.com
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                                CERTIFICATE OF SERVICE

            I hereby certify that January 23, 2023 , the following parties were served a copy
of the foregoing notice in the manner described below:

 Via CM/ECF Electronic Notice:

 Jill L. Phillips, Esq.                           Brian A. Tucci
 The Phillips Law Offices, LLC                    300 E. Joppa Road
 6301 Ivy Lane, Suite 700                         Suite 409
 Greenbelt, MD 20770                              Towson, MD 21286
 Counsel for Debtor                               Chapter 13 Trustee


 Via First Class Mail, Postage Prepaid:

 Rhonda L. Wimbish
 3514 White Chapel Rd.
 Baltimore, MD 21215
 Debtor



                                           /s/ Gene Jung
                                          Gene Jung
